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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

 UNITED STATES OF AMERICA,                           §
                                                     §
                                      Plaintiff,     §
                                                     §    Criminal No. 2:15-CR-091-D
 VS.                                                 §
                                                     §
 LUCY YANG (1),                                      §
                                                     §
                                    Defendant.       §

                   ORDER ADOPTING REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY

        On February 9, 2016, a Report and Recommendation Concerning Plea of Guilty was issued
in the above referenced cause. The response period has expired and no objections have been filed.

       The Court has made an independent examination of the records in this case and has
examined the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty. The
Court is of the opinion that the Report and Recommendation Concerning Plea of Guilty of the
United States Magistrate Judge should be ADOPTED by the United States District Court.

        The Court therefore does adopt the Report and Recommendation Concerning Plea of Guilty
as to defendant LUCY YANG (1).

        ACCORDINGLY, IT IS THEREFORE ORDERED that the guilty plea of defendant
LUCY YANG (1) as to Count 2 of the indictment is found to have been knowingly and voluntarily
entered and both the guilty plea and the plea agreement are accepted. A Scheduling Order for
Sentencing was previously entered, and this case is continued for sentencing pending receipt of
the presentence report.


       SO ORDERED.

        February 24, 2016.


                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            UNITED STATES DISTRICT JUDGE
